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                                                       U.S. Department of Justice

                                                       Andrew E. Lelling
                                                       United States Attorney
                                                       District of Massachusetts
Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
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                                                       Suite 9200
                                                       Boston, Massachusetts 02210

                                                       May 17, 2019
Stylianus Sinnis
Office of the Federal Public Defender
51 Sleeper Street
Boston, MA 02210

          RE:       United States v. Franklin Freddy Meave Vazquez
                    Crim. No. 18-10428-ADB

Dear Counsel:

       We write in response to your discovery letter dated April 12, 2019, requesting the
following 34 categories of documents:

     1. To date, you have produced, by my count, a single FBI 302 (also known as FD 302). See
        Bates 926 regarding search of the Billy Haver. It is incomprehensible that an
        investigation into an alleged homicide would result in only a single 302 that falls under
        the Federal and Local rules pertaining to discovery. For example, you have not produced
        any 302s regarding the interrogation of Mr. Meave Vazquez or his alleged waiver of his
        rights under Miranda v. Arizona, 384 U.S. 436 (1966). No 302s have been produced
        regarding the collection of evidence, the chain of custody of the collected evidence, or the
        results of any forensic testing. There are also no FBI 302s regarding witness interviews.
        Counsel understands that the government is not technically obligated to produce Jencks
        materials until a date closer to trial; however, statements of witnesses could only be
        covered by Jencks if they concern actual government trial witnesses and if the materials
        were “adopted” by the witnesses or are “substantially verbatim recitals” of their
        statements.” 18 U.S.C. §3500(e). It seems unlikely that this would apply to all witness
        statements in the Government’s possession. Moreover, production of legitimate Jencks
        material on the eve of trial will inevitably result in a request to continue the trial and
        result in a delay of the final adjudication of this matter. Accordingly, we request the
        production of all 302 reports concerning interviews of witnesses, collection of evidence,
        testing of evidence, results of such testing and any other reports related to this case.
        Without limiting this request a few examples where one would expect a report to be
        prepared include: Bates 404 specifically references a “separate FD 302”; Bates 403
        Agents Comcowich and Galietta did a preliminary survey of the Billy Haver; Bates 404
        references the fact that Mr. Meave Vazquez was detained while being transported back to
        shore; Bates 407 reflects that an Alternative Light Source was used during examination
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   of certain items on the Billy Haver, Bates 408 reflects a presumptive hemastix test was
   done on a wall in Room H. Yet, there are no reports produced regarding any of these
   events. Please provide all FD 302s. This request includes a request for the notes of the
   agents involved in preparing the reports.

   RESPONSE:

           a. The government objects to the defendant’s request for early Jencks.

           b. The government agrees to produce the FD 302 concerning the September 24,
              2018 interview of the defendant at the Brookline Police Department. The
              government has already produced the audio-video file of that interview, an
              unofficial transcript of the interview, and defendant’s signed Miranda waiver.
              See MEAVE 931-947.

           c. The government agrees to produce FD 302s addressing the collection and
              testing of evidence. These include defendant’s specific requests above except
              there is no FD 302 documenting the use of an alternate light source to
              examine the ice hold, and there is no FD 302 documenting the Presumptive
              Hemastix test, which is a field test that does not result in a report.

2. Akin to Request Number 1, to date we have received only two Coast Guard Investigative
   Service Reports regarding the investigation into the alleged homicide on the Billy Haver.
   See Bates Numbers 1656-1658 and Bates Numbers 1659-1663. It is our understanding
   that the investigation was a joint investigation between the FBI and Coast Guard
   Investigative Services (CGIS). We request all reports prepared by CGIS in connection
   with their investigation in this case. As a basis for this request, we incorporate the reasons
   detailed in Request Number 1.

   RESPONSE: The government incorporates its objections in its response to Request No.
   1. The government agrees to produce CGIS reports addressing the collection and testing
   of evidence.

3. Information required to be produced under Local Rule 116.2. In your discovery letter
   dated December 20, 2018 you identify certain individuals who provided the government
   with potentially exculpatory evidence. See Page 5 of Government’s Discovery Letter
   dated December 20, 2018. In your letter you summarize the exculpatory evidence
   attributable to each witness. This does not meet your obligations under Local Rule 116.2.
   We request copies of all reports, grand jury testimony, and notes pertaining to the
   statements identified in paragraph G(1) of your letter. I note that you did provide us with
   a report regarding potentially exculpatory information provided by TS (Bates 1656 –
   1658) as referenced in paragraph G(1)(f) of your discovery letter; however, you failed to
   produce similar reports or grand jury testimony for the exculpatory evidence outlined in
   paragraph G(1)(a-e) and (g).

   RESPONSE: The government objects to this request and notes that it has complied with
   Local Rule 116.2.


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4. In your December 20, 2018 letter, you state that a crewmember was granted a deferral of
   action on removal by the Immigration and Customs Enforcement agency at the request of
   the FBI. Please provide all documents pertaining to the deferral including
   correspondence, e-mails or other documents in which the request for a deferral were
   discussed. Also, please provide documents from ICE pertaining to the deferral.

   RESPONSE: The government objects to this request.

5. The A-file for the crewmember referenced in Request Number 4.

   RESPONSE: The government objects to this request.

6. You produced documents from Globalstar (Bates 2236-2238). We are missing pages 2-4.
   Please provide those.

   RESPONSE: The government was faxed 5 pages of records, which it will produce. The
   first page is the fax cover sheet. The second page is MEAVE 2236. The government
   inadvertently omitted the third page. The fourth and fifth pages are MEAVE 2237-2238.

7. You produced documents regarding RH receiving medical treatment on the Mein Sheiff
   (Bates 1659). It references a DVD of X-Ray images. We did not receive a copy of the
   DVD. Please provide us with a copy.

   RESPONSE: The government will produce these records.

8. In addition, please provide us with all medical records for RH and JS for care/treatment
   received on the Mein Sheiff. Currently, you have not produced any such records. The
   existence of these records is documented in Bates 1659 and 1682.

   RESPONSE: Aside from RH’s x-rays, which will be produced (see response to No. 7
   above), the only responsive documents have already been produced. See MEAVE 1661-
   1663.

9. Bates 1777-1786 are blank. Please provide copies of these pages.

   RESPONSE: MEAVE 1777-1786, which are blank except for an MGH header and
   sequential page numbers, have been produced by the government as they were produced
   by MGH.

10. Bates 1708-1709 reference an insurance adjuster. We also understand that certain
    crewmembers have received settlements. Please provide us with all statements of
    crewmembers made in connection to insurance claims and all documents related to any
    settlements entered into by crewmembers.

   RESPONSE: The government objects to the request to produce statements at this time.
   The government is unaware of any settlements entered into by any crewmembers.



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11. The government seized Mr. Meave Vazquez’ cellphone. If a search of the phone
    occurred, please provide a copy of the search warrant. If no search warrant was obtained
    please indicate that. Additionally, please provide us with any extraction report or other
    forensic report of this cellphone.

   RESPONSE: No search warrant was obtained and no search was conducted.

12. The government also seized several other cellphones – Bates 412, Items 20 & 23; Bates
    865-870; 924; 925 – please provide all reports including extraction reports for these
    cellphones.

   RESPONSE: The government objects to this request.

13. Bates 928-930 is a diagram reflecting where certain seized items were found. The
    diagram appears to be a seven page document for which only three pages were produced.
    Please produce the missing pages. The diagram is also missing an indication as to where
    items 22-28 were located on the diagram. Please produce the location where these items
    were found.

   RESPONSE: The diagram is three pages, not seven. The government will produce FD
   302 Serial 13, which identifies where on the diagram items 22-28 were located.

14. Bates 1262-1269 are photographs of the Billy Haver’s rigging and antennae. The
    coversheet for the photographs is missing, and as a result, the identification of the
    photographer has not been produced. Please produce this information.

   RESPONSE: FBI Special Agent Dale Wengler took these photographs on September 24,
   2018.

15. Bates 1285 contains radio distress calls. The calls do not contain date and time
    information. Please produce this information.

   RESPONSE: The government will produce this information.

16. Bates 1333-1362 is a transcript of the Channel 16 emergency calls from Bates 1285. The
    transcript contains text of conversation that has not been produced in audio form.
    Therefore, Bates 1285 produced to us is not complete. Please produce the entirety of the
    audio associated with the distress calls.

   RESPONSE: Please advise which portion of the transcript you contend has not been
   produced in audio form.

17. All reports regarding investigation into Mr. Meave Vazquez’ social media accounts
    including but not limited to Facebook, Instagram or other accounts.

   RESPONSE: No such investigation was performed.



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18. You provided a copy of the recorded interrogation of Mr. Meave Vazquez. During this
    interrogation, he signs a Rosario waiver. Please provide a copy of the Rosario waiver.

   RESPONSE: The government will produce the requested document.

19. Mr. Meave Vazquez was held at the Brookline Police Department from on or about
    September 23 – 26. Please provide any reports prepared by the Brookline Police
    Department or any other law enforcement agency regarding this time period.

   RESPONSE: The government will produce the requested document.

20. Mr. Meave Vazquez was detained on the Billy Haver [sic: should be the Coast Guard
    cutter Legare] for a significant period of time before it arrived in Boston. Please produce
    any oral statements made by Mr. Meave Vazquez during this or any other period.
    Moreover, In Paragraph 1d of your December 20, 2018 discovery letter you summarize
    numerous statements allegedly made by Mr. Meave Vazquez, please provide us with all
    reports and hand written notes that pertain to these alleged statements.

   RESPONSE: The defendant did not make any oral statements during this time period
   other than those described in paragraph 1(d) of the government’s December 20, 2018
   discovery letter. To be more specific:

       •   USCG Officer A.C. reported asking if the defendant was injured and the
           defendant responding that he was not. A.C. asked the defendant if he had his ID
           on board the Captain Billy Haver; the defendant replied that it was in the crew’s
           berthing.

       •   USCG Officer M.S. reported that, as he handcuffed the defendant, the defendant
           said, “I am not a criminal.” M.S. asked the defendant if he had ID and where it
           was located. The defendant replied that his passport was located in the top port
           side rack.

       •   USCG Officer J.C.T. reported that, after the defendant was handcuffed, he saw
           that the defendant had a piece of clothing wrapped around his forehead and had
           blood on his face and shirt. J.C.T. asked the defendant if he had a wound on his
           forehead and if it was a significant injury. The defendant said he had stopped the
           bleeding and was okay.

       •   USCG Officer D.P.C. reported that he and USCG Health Services Technician
           C.H. evaluated the defendant when the defendant was brought aboard the cutter
           Legare. D.P.C. noticed a few head wounds and a few scratches on the defendant’s
           right arm. When asked how he had received the head wounds, the defendant said
           that his captain hit him over the head with a metal bar.

       •   USCG Health Services Technician C.H. reported that the defendant was very
           cooperative and calm after he was brought aboard the Legare. C.H. reported the
           following: “During the time Mr. Meave was under my care he admitted to being

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           struck, in the head, by the fishing vessels captain. He states he was struck multiple
           times by a metal bar. He also stated understanding as to why the ship’s captain
           struck him, he stated it was due to the current situation. Mr. Meave claims to have
           gone to the ship’s captain to inform him to call the Coast Guard and that is when
           the captain struck him with the metal bar. Upon being struck Mr. Meave states he
           got away from the captain and climbed the rigging where he stayed until the CGC
           Legare boarding team showed up.”

   The government objects to defendant’s request for reports and notes.

21. Bates 396 reflects the Mein Schiff had telephone contact with the Billy Haver. Please
    provide us with a copy of the recording of this call. Bates 397 references additional calls
    by the Mein Schiff one of which was to the Fleet Captain Pagonis. Please provide a copy
    of the recording of this call.

   RESPONSE: MEAVE 396 describes radio communications on Channel 16 that were
   heard by the Coast Guard and various vessels, including the Mein Schiff 6 and the
   Captain Billy Haver. It does not describe a communication solely between the Mein
   Schiff 6 and the Captain Billy Haver. The government has produced the audio file of the
   communications described in MEAVE 396. MEAVE 397 references a telephone call
   from the Captain of the Mein Schiff 6 to Fleet Captain Pagonis. The government does not
   possess a recording of this telephone call and does not know whether it was recorded.

22. Bates 924 references the collection of stained bedding. Please provide all documents
    pertaining to any forensic testing done on this item as well as all documents pertaining to
    the chain of custody of this item. If this item has not been tested please indicate that.

   RESPONSE: The government will produce documents relating to the chain of custody
   for this item. Forensic testing has not been performed.

23. Bates 409 references the collection of a black hooded sweatshirt, Beanie hat, purple
    bandana, and a hammer. Please provide all documents pertaining to any forensic testing
    done on these items as well as all documents pertaining to the chain of custody of these
    items. If these items have not been tested please indicate that.

   RESPONSE: The government will produce documents relating to the chain of custody
   for these items. Forensic testing has not been performed.

24. Bates 1092, 1099, and 1111 indicate that rubber boots, gray sweatpants, and a white t-
    shirt were collected. Bates 927 indicates these three items were brought to the FBI’s ERT
    Facility to dry before testing. Please provide all documents pertaining to any forensic
    testing done on these items as well as all documents pertaining to the chain of custody of
    these items. If the items have not been tested please indicate that.

   RESPONSE: The government will produce documents relating to the chain of custody
   for these items. Forensic testing has not been performed.



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25. Bates 1143 – 1147 appear to be photographs of alleged narcotics. Please provide all
    documents pertaining to any forensic testing done on this item as well as all documents
    pertaining to the chain of custody of this item. If this item has not been tested please
    indicate that.

   RESPONSE: The government will produce the requested documentation.

26. Bates 306 and 315 reference the collection of Cavity blood, urine, bile, and vitreous
    humor and that these items were submitted for toxicology. We have only received results
    for heart blood and femoral blood. Please provide all toxicology and forensic testing done
    on these collected items. If these items have not been tested please indicate that.

   RESPONSE: The government has produced the results of all tests performed on samples
   collected during the autopsy. It is the government’s understanding that the Medical
   Examiner’s office has retained some samples in the event that testing is later requested.

27. Bates 306 indicates that postmortem X-Rays were done. These have not been produced.
    Please produce them.

   RESPONSE: The government has requested these from the Medical Examiner’s office
   and will produce them upon receipt.

28. Bates 404 reflects the FBI took spherical photographs. I do not believe these have been
    produced. Kindly produce these photographs.

   RESPONSE: The government will produce these photographs.

29. Bates 408 reflects that a Presumptive Hemastix test was conducted. Please provide any
    reports pertaining to this testing and any other testing performed on items seized from the
    Billy Haver.

   RESPONSE: The government will produce all reports pertaining to testing of items
   seized from the Captain Billy Haver. The Presumptive Hemastix is a field test that does
   not produce a report.

30. The Fishing Vessel Master James appears to have arrived at the Billy Haver before the
    Coast Guard or Mein Schiff. Please provide any reports regarding interviews of the crew
    of the Master James.

   RESPONSE: The government objects to this request. Any potentially exculpatory
   information provided by these witnesses was identified in section G(1)(e) of the
   government’s letter dated December 20, 2018.

31. Bates 1656 – 1658 pertains to an interview of TS. In the interview TS talks about an
    individual who provided exculpatory evidence. This person’s name is redacted. The
    initials are TD. Please provide any reports pertaining to any interviews or conversations
    between TD and law enforcement and please identify TD by his/her full name. Further,
    this report identifies two additional individuals with exculpatory evidence – EJ and DL.

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   Please provide any reports pertaining to any interviews or conversations between EJ
   and/or DL and law enforcement and please identify these individuals by their full name.
   Finally, TS indicates that other crewmembers used drugs and that Mr. Meave Vazquez
   purchased drugs from a fellow crewmember. Please provide any reports or statements
   that reflect that crewmembers of the Billy Haver were using drugs during the trip at issue
   or tested positive for drug use.

   RESPONSE: The government will provide the full names of TD, EJ, and DL. The
   government has no reports of interviews/conversations between law enforcement and
   either TD, EJ, or DL. The government is unaware of any reports reflecting that any
   crewmembers tested positive for drug use. Section G(1)(g) of the government’s letter
   dated December 20, 2018, identifies four crewmembers who have stated that, on
   September 23, 2018, they saw the defendant exhibiting symptoms than can be associated
   with drug withdrawal. The government objects to the defendant’s request for reports or
   statements that reflect that any crewmembers were using drugs.

32. Bates 2236 – 2238 are records for a satellite phone used on the Billy Haver. This
    document is either illegible or redacted. Please provide a legible and unredacted copy of
    this document.

   RESPONSE: The government will provide an unredacted version of this document in
   hard copy form. The original is difficult to read due to its having been faxed.

33. Bates 2244 contains audio recording of conversations between the Billy Haver and the
    Coast Guard. The audio indicates additional phone calls would occur every 30 minutes as
    the Coast Guard escorted the Billy Haver to Boston. The audio of these additional calls
    were not produced. Please produce the audio of these calls.

   RESPONSE: No responsive materials exist. On the recording a petty officer states that
   calls would occur every 30 minutes but the calls did not happen because the Command
   Center was too busy.

34. Any documents or reports regarding whether the EPIRB was activated on the date of the
    alleged homicide.

   RESPONSE: The government will produce the requested report.

                                         Sincerely,

                                         ANDREW E. LELLING
                                         United States Attorney


                                    By: /s/ Christine J. Wichers
                                        LAURA J. KAPLAN
                                        CHRISTINE J. WICHERS
                                        Assistant United States Attorneys


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